               Case 2:20-cr-00167-RAJ Document 44 Filed 10/20/20 Page 1 of 1




1                                                                The Honorable Richard A. Jones
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7                           UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF WASHINGTON
8
                                        AT SEATTLE
9
       UNITED STATES OF AMERICA,                            NO. CR20-167 RAJ
10
                                Plaintiff
11
                           v.                               ORDER GRANTING UNITED STATES’
12
                                                            MOTION TO FILE A REPLY IN EXCESS
13     GYEONG JEI LEE,
                                                            OF SIX PAGES
                                Defendant.
14
15
             The Court, having reviewed the Motion of the United States to File a Reply in
16
     Excess of Six Pages, and finding good cause, hereby states:
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             IT IS HEREBY ORDERED that the Motion (Dkt. #40) is GRANTED. The United
18
     States may file its Reply to Defendant’s Supplemental Response to Government’s Motion
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     for a Competency Examination and Hearing that does not exceed 8 pages in length.
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             DATED this 20th day of October, 2020.
22
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24
                                                          A
                                                          The Honorable Richard A. Jones
25                                                        United States District Judge
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27
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      ORDER GRANTING UNITED STATES’ MOTION                                 UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
      TO FILE A REPLY IN EXCESS OF SIX PAGES
                                                                            SEATTLE, WASHINGTON 98101
      United States v. Gyeong Jei Lee, CR20-167 RAJ - 1                           (206) 553-7970
